
12 N.Y.2d 924 (1963)
Myra S. Warner, Appellant,
v.
Board of Education of the City of New York, Respondent.
Court of Appeals of the State of New York.
Argued January 15, 1963.
Decided January 23, 1963.
Morris Weissberg for appellant.
Leo A. Larkin, Corporation Counsel (Peter J. Flanagan, Seymour B. Quel and Joseph M. Callahan, Jr., of counsel), for respondent.
Concur: Chief Judge DESMOND and Judges DYE, FULD, VAN VOORHIS, BURKE, FOSTER and SCILEPPI.
Judgment affirmed, without costs; no opinion.
